1185 cr-00550-NSR Document 35 Ejled 01/12/21 Page 1 of1
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Southern District
Federal Defende ers 81 Main Street Suite 300
OF NEW YORK, INC. White Plains, N.Y. 10601

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David E. Patton et SONY Susanne Brody
Executive Director DOCUMENT si es
and Attorney-in-Chief j | eELECTRONICALLY FILED

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January 11, 2021 Deft's request to adjourn the Pretrial Conf. from

BY ECF AND EMAIL Jan. 13, 2021 until Feb. 18, 2021 at 2:00 pm - to be
The Honorable Nelson S. Roman held via teleconference - is granted. Clerk of

United States District Court Judge Court requested to terminate the motion (doc. 34).
Southern District of New York Dated: Jan. 12,2021 _

300 Quaroppas Street SO ORDERED: ~ >

White Plains, New York 10601 OO oye

MEMO0.ENDORSED

 

Re: United States v. Vania Bell HON. NELSONS. ROMAN |.’
19 Cr. 550(NSR) UNITED STATES DISTRICT JUDGE.

 

Dear Judge Roman:

This letter is written on behalf of Ms Vania Bell and respectfully requests a
four week adjournment of her pre-trial conference currently scheduled for

January 13, 2021, at 2:00 p.m. I have spoken to Ms. Bell this evening and
was informed that she did test positive for Covid-19, and developed

pneumonia. She remains ill and does not feel up to a Court conference. The

motions have been decided so the only thing remaining is for the Court to

set a trial schedule. I notified both Chambers and the government by email
this evening that I would be submitting this formal request. Ms. Bell is out
on bail at home and has been in compliance with her bail cond-itions. We

thank the Court in advance, and consent to the waiver of time on the Speedy
Trial Clock until the next scheduled meeting.

 

 

 

Respectfully submitted,
; /s/
_ Susanne Brody

-cc: Margery Feinzig, AUSA
Ms. Vania Bell
